              Case 1:20-cv-22471-DPG Document
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017    1-2 COVER
                                           CIVIL  Entered SHEET
                                                          on FLSD Docket 06/15/2020 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS NORTH AMERICAN SUGAR INDUSTRIES,                                                        DEFENDANTS XINJIANG GOLDWIND SCIENCE &
                      INC.                                                                                               TECHNOLOGY CO., LTD., et al.

   (b) County of Residence of First Listed Plaintiff NEW YORK, NY                                             County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
  Mandel & Mandel LLP, 169 E. Flagler Street, Suite 1224,
  Miami, FL 33131 (305) 374-7771
(d) Check County Where Action Arose: ✔ MIAMI- DADE                     MONROE         BROWARD       PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
    1    U.S. Government              ✔ 3                   Federal Question                                                     PTF          DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State           1             1     Incorporated or Principal Place          4      4
                                                                                                                                                       of Business In This State

    2    U.S. Government                  4                    Diversity                           Citizen of Another State             2          2   Incorporated and Principal Place          5       5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                   Citizen or Subject of a              3          3   Foreign Nation                            6       6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                 Click here for: Nature of Suit Code Descriptions
           CONTRACT                                            TORTS                                   FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                PERSONAL INJURY                625 Drug Related Seizure               422 Appeal 28 USC 158       375 False Claims Act
  120 Marine                            310 Airplane                   365 Personal Injury -              of Property 21 USC 881             423 Withdrawal              376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product               Product Liability          690 Other                                  28 USC 157                3729 (a))
  140 Negotiable Instrument                  Liability                 367 Health Care/                                                                                  400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &               Pharmaceutical                                                      PROPERTY RIGHTS           410 Antitrust
      & Enforcement of Judgment              Slander                       Personal Injury                                                   820 Copyrights              430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’             Product Liability                                                 830 Patent                  450 Commerce
  152 Recovery of Defaulted                  Liability                 368 Asbestos Personal                                                 835 Patent – Abbreviated    460 Deportation
                                                                                                                                             New Drug Application
      Student Loans                     340 Marine                         Injury Product                                                    840 Trademark               470 Racketeer Influenced and
      (Excl. Veterans)                  345 Marine Product                 Liability                           LABOR                           SOCIAL SECURITY           Corrupt Organizations
  153 Recovery of Overpayment                Liability                PERSONAL PROPERTY               710 Fair Labor Standards               861 HIA (1395ff)            480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle              370 Other Fraud                    Act                                862 Black Lung (923)        490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle              371 Truth in Lending           720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))      850 Securities/Commodities/
  190 Other Contract                        Product Liability          380 Other Personal             740 Railway Labor Act                  864 SSID Title XVI          Exchange
  195 Contract Product Liability        360 Other Personal                 Property Damage            751 Family and Medical                 865 RSI (405(g))          ✘ 890 Other Statutory Actions
  196 Franchise                             Injury                     385 Property Damage                Leave Act                                                      891 Agricultural Acts
                                        362 Personal Injury -              Product Liability          790 Other Labor Litigation                                         893 Environmental Matters
                                            Med. Malpractice                                          791 Empl. Ret. Inc.                                                895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS          Act
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                                                       870 Taxes (U.S. Plaintiff   896 Arbitration
    220 Foreclosure                     441 Voting                      463 Alien Detainee                                                       or Defendant)           899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                871 IRS—Third Party 26      Act/Review or Appeal of
                                                                        Sentence                                                             USC 7609
    240 Torts to Land                   443 Housing/                       Other:                                                                                               Agency Decision
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -      530 General                       IMMIGRATION                                                           950 Constitutionality of State
                                                                                                                                                                                Statutes
    290 All Other Real Property             Employment                  535 Death Penalty             462 Naturalization Application
                                        446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                            Other                       550 Civil Rights                  Actions
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
✔ 1 Original               2 Removed         3 Re-filed         4 Reinstated           5   Transferred from           6 Multidistrict         7 Appeal to               8 Multidistrict
    Proceeding               from State        (See VI            or                       another district           Litigation
                                                                                                                                                District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                            Appellate Court
                             Court             below)             Reopened                 (specify)                  Transfer
                                                                                                                                                from Magistrate           – Direct
                                                                                                                                                Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES ✔ NO               b) Related Cases            YES ✔ NO
RE-FILED CASE(S)                                          JUDGE:                                                                                 DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION Title III of the Helms-Burton Act, 22 USC Sections 6081-85; Unlawful trafficking in property confiscated by Cuba.
                                          LENGTH OF TRIAL via 20                days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                      DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                 In excess of $100 million.                      JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         June 15, 2020                                                                                                                                 David S. Mandel
FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                    IFP                     JUDGE                                       MAG JUDGE
